[1, 2] This is an appeal from a judgment pursuant to a verdict of guilty in a criminal case. A majority of the judges think that the appellant did not receive the fair and impartial trial intended to be guaranteed to him by the Constitution *Page 208 
of this state. The judges are not in agreement, however, as to their reasons for so thinking. An expression of precise reasons not concurred in by a majority of the judges would constitute no binding precedent of this court and would not be helpful to either the trial court or the bar. It seems pointless, therefore, for the several judges to set forth the reasons that influence them individually to concur in the ultimate conclusion which the majority have arrived at.
The judgment and order appealed from are therefore reversed without further opinion, and the cause remanded for new trial.
POLLEY, P.J., and CAMPBELL and WARREN, JJ., concur.
ROBERTS, J., disqualified and not sitting.
RUDOLPH, J., dissents.